                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

CHRISTOPHER ERWIN,                                     )
                                                       )
               Plaintiff                               )
                                                       )
       v.                                              )      Case No. 22-CV-3170-JWL-JPO
                                                       )
JEFF ZMUDA, et al.,                                    )
                                                       )
               Defendants.                             )
                                                       )


        MOTION TO FILE UNDER SEAL AND CONVENTIONALLY
   EXHIBIT 3 OF THE INVESTIGATIVE REPORT PREPARED
                 PURSUANT TO “MARTINEZ V. AARON”


       Comes now, Laine C. Barnard, Legal Counsel of the Kansas Department of Corrections,

and respectfully moves the Court pursuant to local rule 5.4.2 for permission to file certain exhibits

under seal and conventionally to be considered as a part of the Martinez Report in the above

captioned matter.

       In Support of this Motion, Counsel would state as follows:

               1.      Pursuant to Local Rule 5.4.2 counsel must file a motion for leave to file

                       documents under seal and conventionally in the Electronic Filing System.

               2.      The document sought to be filed under seal and conventionally is Exhibit 3.

               3.      Exhibit 3 consists of medical records and behavioral health records of

                       Christopher Erwin.
               4.      Additionally, the size of the exhibit, which is in excess of 1,000 pages is

                       too large to file electronically.

               5.      For security reasons, plaintiff will not be provided a copy of his medical

                       records but will be allowed to review the file at reasonable times, upon

                       reasonable notice. The Court is respectfully requested to allow Legal

                       Counsel to file Exhibit 3 to the Martinez Report under seal and in a

                       conventional form rather than electronically.



                                                /s/ Laine C. Barnard
                                                Laine C. Barnard, KS 19467
                                                Legal Counsel
                                                Kansas Department of Corrections
                                                714 SW Jackson St, Suite 300
                                                Topeka, KS 66603
                                                Tel: (785) 600-0698
                                                Email: Laine.Barnard@ks.gov




                                CERTIFICATE OF SERVICE
        I hereby certify that on June 2, 2023, I electronically filed the foregoing with the clerk of
the court by using the CM/ECF system which will send a notice of electronic filing. I further
certify that I mailed the foregoing document and the notice of electronic filing by first-class mail
to the following non-CM/ECF participants:

Christopher Erwin, #123078
El Dorado Correctional Facility
El Dorado, KS 67042
Plaintiff pro se

                                        /s/ Laine C. Barnard
                                       Laine C. Barnard
